Case 2: 05- --Cr 20203- .]DB Document 14 Filed 06/08/05 PaQ€ 1 of 2 133ng
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IN TI-[E UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

 

UNITED STATES OF AMERICA

KATHRYN BOWERS 05cr20203-1-B

 

ORDER ()N ARRAIGNMENT

This cause came to be heard on - 2 615" the United States Attorney
for this district appeared on behalf of the vernment, and the defendant appeared in person and With

counsel:

 

 

NAME?V///( CMMb¢/Ul,_ who is Retained/Appointed.

The defendant, through eounsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3(}) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended
l/The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (beir\g held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U. S. Marshal.
/[:`MW

UNITED STATES MAGISTRATE ]UDGE

CHARGES ~ 18:1951
INTERFERENCE WITH COMMERCE BY THREAT OR VIOLENCE

Attorney assigned to Case: T. DiScenza

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with Ru\e 55 and/or 32(b)

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UNITED srArE onlle COURT - WESTERN D's'TRCT oFrENNEssEE

 
 

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This notice confirms a copy of the document docketed as number 14 in
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Timothy R. DiScenZa

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Honorable .l. Breen
US DISTRICT COURT

